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                               DISTRICT COURT OF THE VIRGIN ISLANDS
                                DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                               )
                                                        )
                          Plaintiff,                    )
                                                        )
                          v.                            )        Case Nos. 3:19-cr-0073
                                                        )
JAHBARI HODGE,                                          )
                                                        )
                          Defendant.                    )
                                                        )
                                                        )

                                                    ORDER
         THIS MATTER came before the Court for a sentencing hearing held on November 4,
2020. At the hearing, Jahbari Hodge (“Hodge”) argued that, under the Categorial Approach
analysis, his past conviction for first degree assault in violation of 14 V.I.C. § 295(3) does not
quality as a “crime of violence.” As such, under U.S.S.G. § 2K2.1(a)(2), his past conviction
would not result in a base offense level of 24 for his current conviction. The United States
(the “Government”) argued that Hodge’s conviction for first degree assault does qualify as a
crime of violence, thereby resulting in the base offense level of 24. Hodge requested a
continuance to provide the Court with supplemental briefing on the issue.
         The premises considered, it is hereby
         ORDERED that, no later than November 12, 2020, Defendant Hodge shall file a
supplemental brief addressing the following issue: whether a conviction under 14 V.I.C.
§ 295(3) constitutes a crime of violence under U.S.S.G. § 2K2.1(a)(2); 1 it is further
         ORDERED that, no later than November 16, 2020, the Government shall file a
response to Hodge’s brief; it is further
         ORDERED that there shall be no further briefing unless authorized by the Court; and
it is further




1   Pursuant to Local Rules, briefs may not exceed twenty pages in length. LRCi 7.1(d).
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        ORDERED that the sentencing hearing in this matter, which commenced on
November 4, 2020, is hereby SCHEDULED to resume promptly at 2:00 P.M. on November
20, 2020.


Dated: November 5, 2020                    /s/ Robert A. Molloy
                                           ROBERT A. MOLLOY
                                           District Judge
